Case 19-53917-sms           Doc 97     Filed 08/28/23 Entered 08/28/23 08:55:04      Desc Main
                                       Document     Page 1 of 6



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE: BARBARA JENNINGS                               } CHAPTER 13
                                                      }
                                                      } CASE NO. A19-53917-SMS
          DEBTOR(S)                                   }
                                                      } JUDGE SIGLER

                       MOTION TO RE-CONVERT THIS CASE TO ONE
                                 UNDER CHAPTER 7

        COMES NOW K. EDWARD SAFIR, TRUSTEE in the above-referenced matter, and files

this Motion to Re-Convert this Case to One Under Chapter 7. The Trustee respectfully shows the

Court as follows:

                                                 1.

        The Debtor filed for relief under Chapter 13 of Title 11 on March 11, 2019. Debtor’s case

was converted to one under Chapter 7 on December 5, 2022 (Docket #64). A motion to re-convert

Debtor’s case to Chapter 13 was filed on April 5, 2023 (Docket #89). The motion was granted on

May 3, 2023 (Docket #94). The Debtor’s plan proposes to cure a default on real estate mortgage

and to pay secured, priority and general unsecured creditors a zero percent (0%) dividend based

upon the equity in real property.

                                                 2.

        Debtor has failed to comply with this Court's Order requiring regular monthly payments to

the Trustee. The Debtor should have paid $57,292.80. The Debtor has paid a total of $41,360.00,

causing a delinquency of $15,932.80.




K. Edward Safir, Chapter 13 Trustee
Suite 1600 – 285 Peachtree Center Ave., N.E.
Atlanta, Georgia 30303
(404) 525-1110
albertg@atlch13tt.com
Case 19-53917-sms           Doc 97     Filed 08/28/23 Entered 08/28/23 08:55:04         Desc Main
                                       Document     Page 2 of 6



                                                 3.

        The Debtor’s schedules show real estate located at 3720 Montrose Pond Walk, Duluth,

Georgia with a fair market value of $200,000.00.

                                                 4.

        Debtor’s plan as proposed exceeds sixty (60) months, in violation of 11 U.S.C. Section

1322(d).

                                                 5.

        The Debtor’s mortgage holder U.S. Bank, National Association as successor in interest to

Bank of America, National Association, filed a proof of claim in the amount of $111,104.51 thus

showing a significant amount of equity in this property. The Debtor has claims filed in the

Chapter 13 case by priority, secured creditors and the proofs of claim have a remaining balance

of $31,304.83. The equity in this property appears to be sufficient to pay a substantial dividend

to unsecured creditors and for the Debtor to retain her exemption.

                                                 6.

        The Trustee respectfully requests that the Court waive the filing fee for the filing of this

Motion; or, in the alternative, that the Court defer the payment of said fee until such time as this

Motion is granted and if there are funds available in the case at that time.




K. Edward Safir, Chapter 13 Trustee
Suite 1600 – 285 Peachtree Center Ave., N.E.
Atlanta, Georgia 30303
(404) 525-1110
albertg@atlch13tt.com
Case 19-53917-sms           Doc 97     Filed 08/28/23 Entered 08/28/23 08:55:04       Desc Main
                                       Document     Page 3 of 6




        WHEREFORE, the Trustee requests that this Chapter 13 case be re-converted to one under

Chapter 7 pursuant to 11 U.S.C. Section 1307(c)(6) to allow a Chapter 7 Trustee to liquidate the

subject property and to pay all creditors with a filed and allowed claim, and for any other relief

that may be just and proper.

        Respectfully submitted this            28th   day of August, 2023




                                                          /s
                                           Albert C. Guthrie
                                           Attorney for the Chapter 13 Trustee
                                           GA Bar No. 142399




K. Edward Safir, Chapter 13 Trustee
Suite 1600 – 285 Peachtree Center Ave., N.E.
Atlanta, Georgia 30303
(404) 525-1110
albertg@atlch13tt.com
Case 19-53917-sms           Doc 97     Filed 08/28/23 Entered 08/28/23 08:55:04          Desc Main
                                       Document     Page 4 of 6



                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION


IN RE: BARBARA JENNINGS                              } CHAPTER 13
                                                     }
                                                     } CASE NO. A19-53917-SMS
          DEBTOR(S)                                  }
                                                     } JUDGE SIGLER

    NOTICE OF HEARING ON MOTION TO RE-CONVERT TO CHAPTER 7 CASE

        PLEASE TAKE NOTE that the Chapter 13 Trustee has filed a Motion to Re-Convert
this case to one under Chapter 7 and related papers with the Court.
        PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing at 10:00
A.M. on September 26, 2023 in Courtroom 1201, United States Courthouse, 75 Ted
Turner Drive, SW, Atlanta, GA, 30303, which may be attended in person or via the
Court’s Virtual Hearing Room.
        You may join the Virtual Hearing Room through “Dial-in and Virtual Bankruptcy
Hearing Information” link at the top of the homepage of the Court’s website,
www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also be found on the
Court’s website. Please also review the “Hearing Information” tab on the judge’s webpage for
further information about the hearing. You should be prepared to appear at the hearing via
video, but you may leave your camera in the off position until the Court instructs otherwise.
Unrepresented persons who do not have video capability may use the telephone dial-in
information on the judge’s webpage.
        Your rights may be affected by the Court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this
bankruptcy case. (If you do not have an attorney, you may wish to consult one.) If you do not
want the Court to grant the relief sought in these pleadings or if you want the Court to consider
your views, then you and/or your attorney must attend the hearing. You may also file a written
response to the pleading with the Clerk at the address stated below, but you are not required to

K. Edward Safir, Chapter 13 Trustee
Suite 1600 – 285 Peachtree Center Ave., N.E.
Atlanta, Georgia 30303
(404) 525-1110
albertg@atlch13tt.com
Case 19-53917-sms           Doc 97     Filed 08/28/23 Entered 08/28/23 08:55:04         Desc Main
                                       Document     Page 5 of 6



do so. If you file a written response, you must attach a certificate stating when, how and on
whom (including addresses) you served the response. Mail or deliver your response so that it is
received by the Clerk at least two business days before the hearing. The address of the Clerk's
Office is Clerk, U. S. Bankruptcy Court, 75 Ted Turner Drive, SW, Suite 1340, Atlanta,
GA, 30303. You must also mail a copy of your response to the undersigned at the address stated
below.

Dated: August 28, 2023


                                                     Respectfully submitted,


                                                             /s/
                                                     Albert C. Guthrie, Attorney
                                                     for the Chapter 13 Trustee
                                                     GA Bar No. 142399




K. Edward Safir, Chapter 13 Trustee
Suite 1600 – 285 Peachtree Center Ave., N.E.
Atlanta, Georgia 30303
(404) 525-1110
albertg@atlch13tt.com
Case 19-53917-sms           Doc 97     Filed 08/28/23 Entered 08/28/23 08:55:04          Desc Main
                                       Document     Page 6 of 6




A19-53917-SMS
                                    CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing Motion to Re-Convert Case to
Chapter 7 and Notice of Hearing with the Clerk of Court using the CM/ECF system which will
automatically send an email notification of such filing to the parties or attorneys of record. I have
also on this day caused a copy of the pleading to be placed in the first-class United States mail,
postage prepaid, addressed to the following recipients not participating in the CM/ECF system as
follows:

DEBTOR(S):

Barbara Jennings
3720 Montrose Pond Walk
Duluth, GA 30096

ATTORNEY(S):

Hait & Kuhn
185 Stockwood Drive
Ste 100
Woodstock, GA 30188

This    28th     day of August, 2023


                                                      Respectfully submitted,


                                                       s/                       .
                                                      Albert C. Guthrie, Attorney
                                                      for the Chapter 13 Trustee
                                                      GA Bar Number 142399




K. Edward Safir, Chapter 13 Trustee
Suite 1600 – 285 Peachtree Center Ave., N.E.
Atlanta, Georgia 30303
(404) 525-1110
albertg@atlch13tt.com
